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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                                 CASE NO. 3:20-cv-864-RGJ

                                  ELECTRONICALLY FILED


RENAISSANCE/THE PARK, LLC d/b/a                                               PLAINTIFF
RENAISSANCE FUN PARK


v.                        AGREED ORDER EXTENDING
                      PLAINTIFF’S TIME TO FILE A RESPONSE


THE CINCINNATI INSURANCE COMPANY                                           DEFENDANT

                                      **** **** ****

      This matter is before the Court by agreement of the parties, as evidenced by the

signatures of their respective counsel below. The Court being sufficiently advised;

      IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff, Renaissance/The Park,

LLC, shall have through March 1, 2021, in which to file a Response to Defendant’s January

22, 2021 Motion to Dismiss Plaintiff’s Complaint (DN 11).




           January 29, 2021
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HAVE SEEN AND AGREE:


/s/ John D. Cox              _________
John D. Cox
LYNCH, COX, GILMAN & GOODMAN P.S.C.
500 West Jefferson Street, Ste. 2100
Louisville, Kentucky 40202
Email: (502) 589-4215
Counsel for Plaintiff


/s/ Matthew P. Cook (with permission)
Thomas N. Kerrick
Matthew P. Cook
KERRICK BACHERT P.S.C.
1025 State Street
Bowling Green, Kentucky 42101
Email: tkerrick@kerricklaw.com
Email: mcook@kerricklaw.com
Counsel for Defendant

G. David Rubin (pro hac vice admission)
LITCHFIELD CAVO LLP
2 North Lake Avenue, Suite 400
Pasadena, CA 91101
rubin@litchfieldcavo.com
Counsel for Defendant
